     Case: 1:10-cv-03189 Document #: 13 Filed: 08/24/10 Page 1 of 1 PageID #:27



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ROSALINDA ORTIZ,                                     )
                                                     )
                       Plaintiff,                    )
                                                     )
               vs.                                   )        1:10CV3189
                                                     )
NCO FINANCIAL SYSTEMS, INC.,                         )
                                                     )
                       Defendant.                    )
                                STIPULATION OF DISMISSAL

       Plaintiff and defendant hereby stipulate, pursuant to Fed.R.Civ.P. 41(a)(1), to the

dismissal of this action, with prejudice and without costs.

Respectfully submitted,

/s/ Thomas E. Soule                                  /s/ James K. Schultz
Thomas E. Soule                                      James K. Schultz
EDELMAN, COMBS, LATTURNER                            SESSIONS FISHMAN NATHAN
       & GOODWIN, LLC                                        & ISRAEL LLP
120 S. LaSalle Street, 18th Floor                    55 West Monroe Street, Suite 1120
Chicago, Illinois 60603                              Chicago, Illinois 60603
(312) 739-4200                                       (312) 578-0990
(312) 419-0379 (FAX)                                 (312) 578-0991 (FAX)
courtecl@edcombs.com                                 jschultz@sessions-law.biz
                                    CERTIFICATE OF SERVICE

       I, Thomas E. Soule, hereby certify that the preceding document was filed with the Court
on August 24, 2010, and that the same was served upon James Schultz (jschultz@sessions-
law.biz), counsel for defendant, by operation of the Court’s electronic filing system, on the same
date.

                                                     /s/ Thomas E. Soule
                                                     Thomas E. Soule




                                                 1
